Case 1:20-mj-02228-JJO Document 59 Entered on FLSD Docket 03/30/2020 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 20-mj-2228-JJO


  UNITED STATES OF AMERICA

  v.

  FELIPE MONCALEANO BOTERO,

                        Defendant.
                                         /

             PROTECTIVE ORDER REGULATING DISCLOSURE OF
       DISCOVERY AND SENSITIVE INFORMATION CONTAINED THEREIN

        The United States of America, having applied to this Court for a protective

  order regulating disclosure of the discovery materials and the sensitive information

  contained therein (the “Discovery”) to defense counsel in connection with the

  government’s discovery obligations, and the Court finding good cause:

        IT IS HEREBY ORDERED that the government’s Motion for Protective

  Order Regulating Disclosure of Discovery Information is GRANTED;

        IT IS FURTHER ORDERED that the government is authorized to disclose

  the Discovery in its possession, which the government believes is necessary to comply

  with the discovery obligations imposed by this Court;

        IT IS FURTHER ORDERED that counsel of record for the defendant shall

  hold the Discovery produced pursuant to this Order in strict confidence. Therefore,

  defense counsel shall restrict access to the Discovery, and shall disclose the Discovery

  to the defendant, office staff, investigators, and to anticipated fact or expert witnesses
Case 1:20-mj-02228-JJO Document 59 Entered on FLSD Docket 03/30/2020 Page 2 of 2



  only to the extent that defense counsel believes is necessary to assist in the defense

  of the defendant in this matter;

        IT IS FURTHER ORDERED that counsel of record for the defendant shall

  advise any person to whom the Discovery is disclosed that such information should

  be held in strict confidence and that further disclosure or dissemination is prohibited

  without defense counsel’s express consent; and

        IT IS FURTHER ORDERED that counsel of record for the defendant shall

  obtain a certification from each person to whom the Discovery is disclosed, in which

  the recipient: (a) acknowledges the restrictions set forth in this Protective Order, and

  (b) agrees that he/she will not disclose or disseminate the information without the

  express consent of defense counsel. Counsel shall keep a copy of each certification to

  identify the individuals who received the Discovery and the date on which such

  information was first disclosed.

        IT IS FURTHER ORDERED that upon conclusion of the above-captioned

  case, any copies of the Discovery disclosed pursuant to the terms of this Order shall

  be returned to defense counsel and shall either be destroyed or returned to the United

  States.

        DONE AND ORDERED in chambers in Miami, Florida, this 30th day of

  March, 2020.


                                          __________________________________
                                          UNITED STATES MAGISTRATE JUDGE

  Cc: All Counsel of Record
